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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                                Mag. No. 2573 (DEA)

                                                        SEALING ORDER
TONY F. MACK,
 a/k/a “Honey Fitz,”
 a/k/a “the Little Guy,”
 a/k/a “Napoleon,”
JOSEPH A. GIORGIANNI,
 a/k/a “J
       ,”
       J
       0
 a/k/a “Mr. Baker,”
 a/k/a “the Fat Man,” and
RALPHIEL MACK


                This matter having come before the Court upon the application of the United
States of America, by Paul J. Fishman, United States Attorney (Eric W. Moran, Assistant United
States Attorney, appearing) for an order sealing the Complaint and related papers in this matter,
and for good cause shown,

                IT IS on this 4th day of September, 2012,
                ORDERED that the Complaint in this matter and all related papers, with the
exception of the arrest warrant and copies thereof, be filed under seal, and they are hereby sealed

until the arrest of the individual named in the warrant or until further order of this Court.




                                               HON. DOUGTA’SE. ARPERT
                                               UNITED Sl’ATES’MAGISTRATE JUDGE
